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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

In re:                                                     Case No. 13-42507
         BRUCE EDWIN HOPSON

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Diana S. Daugherty, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 03/23/2013.

         2) The plan was confirmed on 07/10/2013.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 03/23/2018.

         6) Number of months from filing to last payment: 60.

         7) Number of months case was pending: 63.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $20,415.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

       Total paid by or on behalf of the debtor             $28,983.04
       Less amount refunded to debtor                            $0.00

NET RECEIPTS:                                                                                  $28,983.04


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                               $3,967.00
    Court Costs                                                             $0.00
    Trustee Expenses & Compensation                                     $1,490.36
    Other                                                                   $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                $5,457.36

Attorney fees paid and disclosed by debtor:                 $33.00


Scheduled Creditors:
Creditor                                     Claim         Claim            Claim        Principal       Int.
Name                               Class   Scheduled      Asserted         Allowed         Paid         Paid
INTERNAL REVENUE SERV          Priority        1,775.52        335.32           335.32         335.32         0.00
INTERNAL REVENUE SERV          Unsecured            NA         160.28           160.28           5.05         0.00
MIDWEST BANK CENTRE            Unsecured           0.00    156,035.27       156,035.27       5,399.33         0.00
MIDWEST BANK CENTRE            Secured      100,093.49      15,836.67        15,836.67     15,836.67    1,142.06
MO DEPT OF REVENUE             Priority             NA         318.00           318.00         318.00         0.00
MO DEPT OF REVENUE             Priority             NA          86.06            86.06          86.06         0.00
MO DEPT OF REVENUE             Unsecured            NA           4.00             4.00           0.00         0.00
PORTFOLIO RECOVERY ASSOC LLC   Unsecured         502.00        484.52           484.52          16.78         0.00
PORTFOLIO RECOVERY ASSOC LLC   Unsecured         235.00        845.26           845.26          29.25         0.00
SPECIALIZED LOAN SVCING LLC    Secured           107.16          0.00           107.16         107.16         0.00
SPECIALIZED LOAN SVCING LLC    Secured        44,500.00          0.00        43,663.33           0.00         0.00
SPECIALIZED LOAN SVCING LLC    Secured           250.00          0.00           250.00         250.00         0.00
SPECIALIZED LOAN SVCING LLC    Secured              NA           0.00            84.00           0.00         0.00
US BANK                        Secured         3,000.00           NA               NA            0.00         0.00
US BANK                        Secured              NA            NA               NA            0.00         0.00




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 Summary of Disbursements to Creditors:
                                                             Claim           Principal           Interest
                                                           Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                 $43,997.33            $250.00             $0.00
       Mortgage Arrearage                                  $107.16            $107.16             $0.00
       Debt Secured by Vehicle                               $0.00              $0.00             $0.00
       All Other Secured                                $15,836.67         $15,836.67         $1,142.06
 TOTAL SECURED:                                         $59,941.16         $16,193.83         $1,142.06

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00             $0.00              $0.00
        Domestic Support Ongoing                              $0.00             $0.00              $0.00
        All Other Priority                                  $739.38           $739.38              $0.00
 TOTAL PRIORITY:                                            $739.38           $739.38              $0.00

 GENERAL UNSECURED PAYMENTS:                           $157,529.33          $5,450.41              $0.00


Disbursements:

         Expenses of Administration                            $5,457.36
         Disbursements to Creditors                           $23,525.68

TOTAL DISBURSEMENTS :                                                                      $28,983.04


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 06/07/2018                            By:/s/ Diana S. Daugherty
                                                                    Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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